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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

                                                  )
UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff,                   )
                                                  )
              v.                                  )       Case No. 07-20099-JWL
                                                  )
MAYRA GANDARA-ESCARCEGA,                          )
                                                  )
                     Defendant.                   )
                                                  )



                          MEMORANDUM AND ORDER

       On August 10, 2009, Mayra Gandara-Escarcega pled guilty to conspiracy to

distribute and possession with intent to distribute 1,000 kilograms or more of marijuana

and 5 kilograms or more of cocaine; and attempted money laundering (docs. 539, 540).

In preparation for sentencing, the United States Probation Office advised that Ms.

Gandara-Escarcega was in possession of $169,730 at the time of her arrest. The

Probation Office converted the money to its drug equivalent, recommending that the

defendant be held accountable for 7.7 kilograms of cocaine. Based on that drug quantity,

the Probation Office calculated a base offense level of 32, which, with a two-level

enhancement for laundering money derived from unlawful activity, and a three-level

adjustment for acceptance of responsibility, resulted in a total offense level of 31. With

a criminal history category of II, under the United States Sentencing Commission,

Guidelines Manual (2009), this subjected Ms. Gandara-Escarcega to an advisory
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guideline range of 121- to 151-months imprisonment. She received a sentence of 121

months on November 30, 2009 (doc. 643).

       Ms. Gandara-Escarcega has now filed a Motion for Retroactive Application of

Sentencing Guidelines pursuant to 18 U.S.C. § 3582(c)(2) (doc. 888). For the reasons

set forth below, that motion is denied.

                                      ANALYSIS

       Section 3582 allows a court to modify a sentence “in the case of a defendant who

has been sentenced to a term of imprisonment based on a sentencing range that has

subsequently been lowered by the Sentencing Commission . . . consistent with the

applicable policy statement issued by the Sentencing Commission.” 18 U.S.C. §

3582(c)(2). The policy statement to which § 3582(c)(2) refers is § 1B1.10 of the United

States Sentencing Guidelines. Section 1B1.10 allows a court to reduce a term of

imprisonment under § 3582(c) provided that the guideline range applicable to the

defendant was subsequently lowered by one of the specific amendments to the

Guidelines listed in § 1B1.10(c). U.S.S.G. § 1B1.10(a)(1). Section 1B1.10(a)(2)

provides that a reduction is not authorized if none of the retroactive amendments listed

in subsection (c) is applicable to the defendant.

       Ms. Gandara-Escarcega seeks to have her sentence reduced by means of the Fair

Sentencing Act of 2010, Pub. L. No. 111-220, 124 Stat. 2372 and Amendment 750 to the

United States Sentencing Guidelines. See U.S.S.G. § 2D1.1 (2011); United States


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Sentencing Commission, 76 Fed. Reg. 41,332 (July, 13, 2011) (on retroactivity). She

contends that retroactive Amendment 750 “applies to individuals whose offense level

involved cocaine hydrochloride[,] and [those individuals] are entitled to the same

reduction in sentence as those convicted and sentenced for actual crack” (doc. 888, at 2).

       As relevant to Ms. Gandara-Escarcega’s present motion, Amendment 750 revised

the Drug Quantity Table set forth in § 2D1.1 to reflect statutory changes in the penalties

for cocaine base (“crack” cocaine) offenses. She, however, was sentenced based on a

quantity of cocaine hydrochloride, not cocaine base. Contrary to Ms. Gandara-

Escarcega’s contention, Amendment 750 does not impact the guideline range for

offenses involving cocaine hydrochloride. As a result, a reduction in the defendant’s

term of imprisonment is not consistent with the policy statement in § 1B1.10 and

therefore is not authorized under 18 U.S.C. § 3582(c)(1) because Amendment 750 does

not have the effect of lowering her applicable guideline range. See United States v.

Sharkey, 543 F.3d 1236, 1238 (10th Cir. 2008) (applying the same reasoning to

Amendment 706).

       Ms. Gandara-Escarcega further asserts that the recent United States Supreme

Court decision DePierre v. United States, 131 S. Ct. 2225 (2011), “made clear that the

amendment lowering the base level for crack cocaine also applies to cocaine

hydrochloride” (id.). Her reading of DePierre misconstrues the Court’s holding. In

DePierre, the Court found that the term “cocaine base” as used in 18 U.S.C. §§


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841(b)(1)(A)(iii) and (b)(1)(B)(iii) refers generally to cocaine in its chemically basic

form and not exclusively to what is colloquially known as crack cocaine. 131 S. Ct. at

2227-28. Contrary to Ms. Gandara-Escarcega’s assertion, DePierre concludes that

“cocaine in its chemically basic form” does not include cocaine hydrochloride. Id. at

2227-29. DePierre explains that cocaine in its most basic form contains the molecular

composition C 17H 21NO 4 and includes coca paste, crack cocaine, and freebase. Id. at

2227-28. Cocaine hydrochloride, on the other hand, possesses the molecular formula C
17
 H 22NO 4+Cl is derived, in part, by dissolving coca paste in water and hydrochloric

acid. Id. at 2228. As such, Ms. Gandara-Escarcega’s assertion that DePierre “made

clear that the amendment lowering the base level for crack cocaine also applies to

cocaine hydrochloride” is without merit.


       IT IS THEREFORE ORDERED BY THE COURT that defendant’s Motion

for Retroactive Application of Sentencing Guidelines (doc. 888) is denied.




       IT IS SO ORDERED this 3rd day of February, 2012.


                                   s/ John W. Lungstrum
                                   John W. Lungstrum
                                   United States District Judge




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